 Case 4:87-cr-40070-JPG         Document 938 Filed 06/14/07             Page 1 of 2      Page ID
                                          #648



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                              Case No. 87-cr-40070-JPG

 RANDY THOMAS LANIER,

                Defendant.

                               MEMORANDUM AND ORDER

        This matter comes before the Court on the motion of defendant Randy Thomas Lanier for

leave to proceed on appeal in forma pauperis (Doc. 924). Lanier has appealed the Court’s

dismissal of his Rule 60(b)(6) motion seeking to vacate its prior ruling denying a motion under

28 U.S.C. § 2255 to vacate, set aside or correct his sentence. The Court found that Lanier’s

motion was an unauthorized successive § 2255 petition over which this Court had no

jurisdiction.

        A federal court may permit a party to proceed on appeal without full pre-payment of fees

provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(3); Fed.

R. App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton, 209 F.3d

1025, 1026-27 (7th Cir. 2000). The test for determining if an appeal is in good faith or not

frivolous is whether any of the legal points are reasonably arguable on their merits. Neitzke v.

Williams, 490 U.S. 319, 325 (1989) (citing Anders v. California, 386 U.S. 738 (1967)); Walker

v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000).

        Lanier’s appeal is frivolous and not taken in good faith. Lanier’s Rule 60(b)(6) motion is

a successive § 2255 motion, and it is beyond question that this Court does not have jurisdiction

to entertain a successive § 2255 motion absent certification from the Seventh Circuit Court of
Case 4:87-cr-40070-JPG          Document 938 Filed 06/14/07            Page 2 of 2     Page ID
                                          #649



Appeals pursuant to § 2255, ¶ 8. Therefore, dismissal of his successive § 2255 motion for lack

of jurisdiction was correct. See Nunez v. United States, 96 F.3d 990, 991 (7th Cir. 1996). Lanier

cannot present any legal points that are reasonably arguable on their merits. Accordingly, the

Court DENIES Lanier’s motion for leave to proceed in forma pauperis (Doc. 924) and

CERTIFIES that this appeal is not taken in good faith.

IT IS SO ORDERED.
DATED: June 14, 2007

                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             DISTRICT JUDGE




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